                              Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 1 of 105

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                         Chapter        7                                                  ❑Check if this is an
                                                                                                                                      amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



  1. Debtor's name                                OutRight Avionics, LLC


  2. All other names debtor used
     in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



  3. Debtor's federal Employer                    4      7 – 1    7     3   9       1   7     7
     Identification Number (EIN)



  4. Debtor's address                             Principal place of business                                  Mailing address, if different from principal
                                                                                                               place of business


                                                  Number         Street                                        Number     Street

                                                  10078 Airport Rd
                                                                                                               P.O. Box
                                                  Conroe, TX 77303
                                                  City                                      State   ZIP Code
                                                                                                               City                         State      ZIP Code

                                                  Montgomery                                                   Location of principal assets, if different from
                                                  County
                                                                                                               principal place of business


                                                                                                               Number     Street




                                                                                                               City                         State      ZIP Code




  5. Debtor's website (URL)                       www.outrightavionics.com


  6. Type of debtor                               ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:

Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 1
                          Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 2 of 105

Debtor      OutRight Avionics, LLC                                                                Case number (if known)
           Name
                                       A. Check one:
  7. Describe debtor's business
                                       ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       ❑Railroad (as defined in 11 U.S.C. §101(44))
                                       ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                       ✔None of the above
                                       ❑
                                       B. Check all that apply:
                                       ❑   Tax-exempt entity (as described in 26 U.S.C. §501)

                                       ❑   Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                       ❑   Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes
                                          debtor. See http://www.uscourts.gov/four-digit-national-association-naics-codes .


  8. Under which chapter of the        Check one:
     Bankruptcy Code is the            ✔ Chapter 7
                                       ❑
     debtor filing?
                                       ❑ Chapter 9
                                       ❑ Chapter 11. Check all that apply:
                                          ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                 insiders or affiliates) are less than (amount subject to adjustment on and every 3
                                                 years after that).
                                            ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                 of operations, cash-flow statement, and federal income tax return or if all of these
                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                            ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                 chooses to proceed under Subchapter V of Chapter 11.
                                            ❑    A plan is being filed with this petition.

                                            ❑    Acceptances of the plan were solicited prepetition from one or more classes of
                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                            ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                            ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                 Rule 12b-2.
                                       ❑   Chapter 12

  9. Were prior bankruptcy cases       ✔No
                                       ❑
     filed by or against the debtor
     within the last 8 years?
                                       ❑Yes.    District                                   When                    Case number
                                                                                                  MM / DD / YYYY

     If more than 2 cases, attach a             District                                   When                    Case number
     separate list.                                                                               MM / DD / YYYY


 10. Are any bankruptcy cases          ❑No
     pending or being filed by a
     business partner or an
                                       ✔ Yes.
                                       ❑        Debtor John and Kristin Galik                                   Relationship Owners
     affiliate of the debtor?                   District Southern District of Texas                                When
                                                                                                                            MM / DD / YYYY
     List all cases. If more than 1,           Case Petition
                                                      number,
Official Form 201                           Voluntary        forifNon-Individuals
                                                                   known          Filing for Bankruptcy                                      page 2
     attach a separate list.
                          Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 3 of 105

Debtor      OutRight Avionics, LLC                                                                   Case number (if known)
           Name


 11. Why is the case filed in        Check all that apply:
     this district?
                                     ✔Debtor has had its domicile, principal place of business, or principal assets in this district
                                     ❑
                                        for 180 days immediately preceding the date of this petition or for a longer part of such
                                        180 days than in any other district.
                                     ✔A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending
                                     ❑
                                        in this district.

 12. Does the debtor own or          ✔No
                                     ❑
     have possession of any
     real property or personal
                                     ❑Yes.     Answer below for each property that needs immediate attention. Attach additional sheets
                                               if needed.
     property that needs
     immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                               ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                   health or safety.
                                                    What is the hazard?


                                               ❑ It needs to be physically secured or protected from the weather.
                                               ❑ It includes perishable goods or assets that could quickly deteriorate or lose value
                                                   without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                   securities-related assets or other options).
                                               ❑ Other
                                               Where is the property?
                                                                            Number        Street




                                                                            City                                      State


                                                                              ZIP Code

                                               Is the property insured?
                                               ❑No
                                               ❑Yes.        Insurance agency
                                                            Contact name
                                                            Phone

         Statistical and administrative information

     13. Debtor’s estimation of      Check one:
         available funds?            ❑Funds will be available for distribution to unsecured creditors.
                                     ✔After any administrative expenses are paid, no funds will be available for distribution to
                                     ❑
                                        unsecured creditors.

     14. Estimated number of         ❑    1-49   ❑    50-99           ❑    1,000-5,000                        ❑   25,001-50,000
         creditors                   ✔
                                     ❑    100-199    ❑      200-999   ❑    5,001-10,000                       ❑   50,000-100,000
                                                                      ❑    10,001-25,000                      ❑   More than 100,000


     15. Estimated assets            ❑    $0-$50,000                      ✔
                                                                          ❑   $1,000,001-$10 million              ❑   $500,000,001-$1 billion
                                     ❑    $50,001-$100,000                ❑   $10,000,001-$50 million             ❑   $1,000,000,001-$10 billion
                                     ❑    $100,001-$500,000               ❑   $50,000,001-$100 million            ❑   $10,000,000,001-$50 billion
                                     ❑    $500,001-$1 million             ❑   $100,000,001-$500 million           ❑   More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
                          Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 4 of 105

Debtor      OutRight Avionics, LLC                                                                            Case number (if known)
           Name




                                      ❑    $0-$50,000                           ✔
                                                                                ❑   $1,000,001-$10 million                     ❑   $500,000,001-$1 billion
     16. Estimated liabilities
                                      ❑    $50,001-$100,000                     ❑   $10,000,001-$50 million                    ❑   $1,000,000,001-$10 billion
                                      ❑    $100,001-$500,000                    ❑   $50,000,001-$100 million                   ❑   $10,000,000,001-$50 billion
                                      ❑    $500,001-$1 million                  ❑   $100,000,001-$500 million                  ❑   More than $50 billion


         Request for Relief, Declaration, and Signatures


 WARNING --         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
                    up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
         of authorized
                                              I have been authorized to file this petition on behalf of the debtor.
         representative of debtor
                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                             Executed on     04/07/2020
                                                             MM/ DD/ YYYY



                                         ✘                         /s/ John Galik                                                       John Galik
                                             Signature of authorized representative of debtor                     Printed name


                                             Title                       President



     18. Signature of attorney
                                         ✘                    /s/ Allison D. Byman                                Date         04/07/2020
                                                                                                                               MM/ DD/ YYYY
                                             Signature of attorney for debtor



                                             Allison D. Byman
                                             Printed name


                                             Byman & Associates, PLLC
                                             Firm name


                                             7924 Broadway Suite 104
                                             Number          Street


                                             Pearland                                                                 TX               77581
                                             City                                                                     State            ZIP Code



                                             (281) 884-9269                                                            adb@bymanlaw.com
                                             Contact phone                                                             Email address



                                             24040773                                                                  TX
                                             Bar number                                                                State




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 4
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 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                  Type of account                    Last 4 digits of account number
       3.1 Security Bank Crawford                                         Checking account                          7558                                         $711.72

       Additional Page Total - See continuation page for additional entries                                                                                      $678.03

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                                 $1,389.75
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑Yes. Fill in the information below.
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                              page 1
                              Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 6 of 105

Debtor         OutRight Avionics, LLC                                                                                   Case number (if known)
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ❑No. Go to Part 4.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:               $147,500.94                 -                     $0.00                  = ...... ➔                          $147,500.94
                                       face amount                                 doubtful or uncollectible accounts


         11b. Over 90 days old:                      $96,491.41              -                   $96,491.41               = ...... ➔                                $0.00
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                              $147,500.94
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
                             Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 7 of 105

Debtor        OutRight Avionics, LLC                                                                            Case number (if known)
             Name



         None


  17.    Total of Part 4
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ❑No. Go to Part 6.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         19.1 Installation/Repair Parts Inventory                                                 (Unknown)                                            $38,193.27
                                                                    MM / DD / YYYY


  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

              Serviceable and New Installation                                                    (Unknown)                                            $11,350.00
         22.1 Service Supplies                                      MM / DD / YYYY


  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                         $49,543.27


  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
                             Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 8 of 105

Debtor        OutRight Avionics, LLC                                                                            Case number (if known)
             Name



  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.

  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 106A/B                                                           Schedule A/B: Property                                                   page 4
                              Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 9 of 105

Debtor        OutRight Avionics, LLC                                                                             Case number (if known)
             Name



  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         39.1 Office furniture and cabinets                                                        (Unknown)                                            $20,280.00


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         41.1 Test Equipment                                                                       (Unknown)                                            $92,572.00


         Additional Page Total - See continuation page for additional entries                                                                          $224,600.00

  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                       $337,452.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                               Net book value of   Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest   for current value          interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
                            Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 10 of 105

Debtor        OutRight Avionics, LLC                                                                                  Case number (if known)
             Name



         47.1 Golf cart (Street legal with title)                                                  (Unknown)                                                  $4,000.00


  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         None


  51.    Total of Part 8
                                                                                                                                                              $4,000.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ❑No. Go to Part 10.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         55.1 LEASED PROPERTY                                    Lease                             (Unknown)                                                      $0.00


  56.    Total of Part 9
                                                                                                                                                                  $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                              Schedule A/B: Property                                                      page 6
                            Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 11 of 105

Debtor        OutRight Avionics, LLC                                                                               Case number (if known)
             Name


  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ❑No. Go to Part 11.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                           Net book value of       Valuation method used        Current value of debtor's
                                                                                       debtor's interest       for current value            interest
                                                                                       (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         61.1 www.outrightavionics.com                                                         (Unknown)                                                       $0.00


  62.    Licenses, franchises, and royalties

         62.1 Repair Station Certificate                                                       (Unknown)                                                 $250,000.00


  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


  66.    Total of Part 10
                                                                                                                                                         $250,000.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


Official Form 106A/B                                                          Schedule A/B: Property                                                       page 7
                            Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 12 of 105

Debtor        OutRight Avionics, LLC                                                                            Case number (if known)
             Name




 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                         Current value of debtor's
                                                                                                                                         interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         72.1 NOL 2019                                                                                   Tax year:    2019                            $255,000.00


         72.2 NOL 2018                                                                                   Tax year:    2018                            $310,488.00


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

              Claim against Eric Spain et al 20-03-03679 for stopping payment                                                                          $20,406.82
         74.1 on a check
         Nature of Claim      Recovery of amounts due
         Amount Requested         $20,406.82



         Additional Page Total - See continuation page for additional entries                                                                               $0.00

  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         None


  78.    Total of Part 11
                                                                                                                                                      $585,894.82
         Add lines 71 through 77. Copy the total to line 90.




Official Form 106A/B                                                            Schedule A/B: Property                                                  page 8
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Debtor       OutRight Avionics, LLC                                                                         Case number (if known)
             Name



  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                          Schedule A/B: Property                                 page 9
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Debtor         OutRight Avionics, LLC                                                                                                            Case number (if known)
              Name



 Part 12: Summary


         Type of property                                                                     Current value of                                Current value
                                                                                              personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                     $1,389.75

  81. Deposits and prepayments. Copy line 9, Part 2.


  82. Accounts receivable. Copy line 12, Part 3.                                                               $147,500.94

  83. Investments. Copy line 17, Part 4.


  84. Inventory. Copy line 23, Part 5.                                                                          $49,543.27

  85. Farming and fishing-related assets. Copy line 33, Part 6.


  86. Office furniture, fixtures, and equipment; collectibles.
      Copy line 43, Part 7.                                                                                    $337,452.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                   $4,000.00


                                                                                                                                    ➔                                 $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                            $250,000.00

  90. All other assets. Copy line 78, Part 11.                                           +                     $585,894.82



  91. Total. Add lines 80 through 90 for each column......                           91a.                   $1,375,780.78        + 91b.                               $0.00



                                                                                                                                                                              $1,375,780.78
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                             page 10
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Debtor        OutRight Avionics, LLC                                                                         Case number (if known)
              Name



           Additional Page


         All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor's
                                                                                                                                      interest

  3.     Checking, savings, money market, or financial brokerage accounts - Continued
         Name of institution (bank or brokerage firm)           Type of account                  Last 4 digits of account number
             Plains State Bank (subject to
         3.2 garnishment)                                            Checking account                         8759                                (Unknown)

         3.3 Chase Bank (subject to garnishment)                     Checking account                                                             (Unknown)

         3.4 Allegiance Bank                                         Checking account                         4795                                    $678.03


         General description                                                      Net book value of       Valuation method used       Current value of debtor's
                                                                                  debtor's interest       for current value           interest
                                                                                  (Where available)

  41. Office equipment - Continued

         41.2 Wire Room                                                                    (Unknown)                                                 $8,125.00

         41.3 Equipment for Sale                                                           (Unknown)                                               $184,125.00

              Laser cutter, welder, shelving, ladder, air compressor,
              break/press, work bench with sander and drill press, jacks
              and tail stands, storage cabinets, tow bars, power cart,
         41.4 rollable work stations (6); cleaning supplies                                (Unknown)                                                $32,350.00


                                                                                                                                      Current value of debtor's
                                                                                                                                      interest

  72. Tax refunds and unused net operating losses (NOLs) - Continued
         Description (for example, federal, state, local)
         72.2 NOL 2018                                                                                Tax year:      2018                          $310,488.00

  74. Causes of action against third parties (whether or not a lawsuit has been filed) - Continued
         74.2 Claim against Garmin for termination/breach of contract

         Nature of Claim
         Amount Requested         (Unknown)                                                                                                        (Unknown)




Official Form 106A/B                                                        Schedule A/B: Property                                                  page 11
                             Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 16 of 105

 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                                                                                                    ❑Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,     Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                             Amount of claim            Value of collateral
                                                                                                                             Do not deduct the          that supports this
                                                                                                                             value of collateral.       claim

2.1 Creditor’s name                                           Describe debtor’s property that is subject to a lien                     $94,147.34                  $350,371.21
    Allegiance Bank                                           Accounts receivable under 90 days
                                                              Installation/Repair Parts Inventory
        Creditor's mailing address
                                                              Laser cutter, welder, shelving, ladder, air
        8727 W. Sam Houston Parkway N. Suite 100
                                                              compressor, break/press, work bench with sander
         Houston, TX 77040                                    and drill press, jacks and tail stands, storage
        Creditor's email address, if known                    cabinets, tow bars, power cart, rollable work stations
                                                              (6); cleaning supplies
                                                              Office furniture and cabinets
        Date debt was incurred
                                                              Serviceable and New Installation Service Supplies
        Last 4 digits of account
        number                         8   0      4   6       See continuation page.
        Do multiple creditors have an interest in the same Describe the lien
        property?
        ❑No.                                                  Is the creditor an insider or related party?
        ✔Yes. Specify each creditor, including this creditor, ❑
        ❑                                                      ✔ No
              and its relative priority.                      ❑Yes.
                For Asset: Accounts receivable under 90       Is anyone else liable on this claim?
                days                                          ❑No
                1) Allegiance Bank                            ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                2) Security Bank Crawford                     As of the petition filing date, the claim is:
                For Asset: Installation/Repair Parts          Check all that apply.
                Inventory                                     ❑Contingent
                1) Allegiance Bank                            ❑Unliquidated
                2) Security Bank Crawford
                                                              ❑Disputed
 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                               $1,444,314.51




Official Form 206D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 9
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Debtor     OutRight Avionics, LLC                                                                                   Case number (if known)
           Name

                                                                                                                           Column A               Column B
 Part 1: Additional Page
                                                                                                                           Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                  Do not deduct the      that supports this
 page.                                                                                                                     value of collateral.   claim

              For Asset: Laser cutter, welder, shelving,
              ladder, air compressor, break/press, work
              bench with sander and drill press, jacks
              and tail stands, storage cabinets, tow bars,
              power cart, rollable work stations (6);
              cleaning supplies
              1) Allegiance Bank
              2) Security Bank Crawford



              For Asset: Serviceable and New
              Installation Service Supplies
              1) Allegiance Bank
              2) Security Bank Crawford

              For Asset: Test Equipment
              1) Allegiance Bank
              2) Security Bank Crawford

              For Asset: Wire Room
              1) Allegiance Bank
              2) Security Bank Crawford



2.2 Creditor’s name                                          Describe debtor’s property that is subject to a lien                   $102,153.67               unknown
    Allegiance Bank                                          Describe the lien

     Creditor's mailing address
                                                             Is the creditor an insider or related party?
      8727 W. Sam Houston Parkway N. Suite 100               ❑✔ No
      Houston, TX 77040                                      ❑Yes.
     Creditor's email address, if known                      Is anyone else liable on this claim?
                                                             ❑No
     Date debt was incurred                                  ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                        0   8   8    3       Check all that apply.
     Do multiple creditors have an interest in the same ❑Contingent
     property?                                          ❑Unliquidated
     ✔ No.
     ❑                                                  ❑Disputed
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 9
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Debtor     OutRight Avionics, LLC                                                                                Case number (if known)
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim

2.3 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $63,201.23               unknown
    Ball, Tom
                                                          Describe the lien
                                                          Judgment
     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      222 Club Island Way
                                                          ❑
                                                          ❑Yes.
      Montgomery, TX 77356

     Creditor's email address, if known
                                                          Is anyone else liable on this claim?
                                                          ❑No
     Date debt was incurred                               ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?                                          ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?

     Remarks: Writ of Execution



2.4 Creditor’s name                                       Describe debtor’s property that is subject to a lien                   $200,000.00                unknown
    Byrd Jr, Jerome
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      3307 Courtland Manor Lane
                                                          ❑
      Kingwood, TX 77339
                                                          ❑Yes.
     Creditor's email address, if known
                                                          Is anyone else liable on this claim?
                                                          ❑No
     Date debt was incurred                               ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?                                          ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 9
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Debtor     OutRight Avionics, LLC                                                                                   Case number (if known)
           Name

                                                                                                                           Column A                Column B
 Part 1: Additional Page
                                                                                                                           Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                  Do not deduct the       that supports this
 page.                                                                                                                     value of collateral.    claim

2.5 Creditor’s name                                          Describe debtor’s property that is subject to a lien                    $110,000.00               unknown
    Kabbage/Celtic Bank
                                                             Describe the lien

     Creditor's mailing address
                                                             Is the creditor an insider or related party?
                                                              ✔ No
      PO Box 77081
                                                             ❑
      Atlanta, GA 30357
                                                             ❑Yes.
     Creditor's email address, if known
                                                             Is anyone else liable on this claim?
                                                             ❑No
     Date debt was incurred         2/2020                   ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                       4      3   9    0     Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?
                                                        ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?



2.6 Creditor’s name                                          Describe debtor’s property that is subject to a lien                   $254,000.24                unknown
    OnDeck Capital, Inc.
                                                             Describe the lien

     Creditor's mailing address
                                                             Is the creditor an insider or related party?
                                                              ✔ No
      101 West Colfax Ave., 10th Floor
                                                             ❑
      Denver, CO 80202
                                                             ❑Yes.
     Creditor's email address, if known
                                                             Is anyone else liable on this claim?
                                                             ❑No
     Date debt was incurred                                  ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?                                          ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4 of 9
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Debtor     OutRight Avionics, LLC                                                                                Case number (if known)
           Name

                                                                                                                        Column A               Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the      that supports this
 page.                                                                                                                  value of collateral.   claim

2.7 Creditor’s name                                       Describe debtor’s property that is subject to a lien                   $350,000.00               unknown
    Plains State Bank
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      PO Box 62005
                                                          ❑
      Houston, TX 77205
                                                          ❑Yes.
     Creditor's email address, if known
                                                          Is anyone else liable on this claim?
                                                          ❑No
     Date debt was incurred                               ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                       1   3   0    0        Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?                                          ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?

     Remarks: SBA Loan/Line of Credit




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 5 of 9
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Debtor      OutRight Avionics, LLC                                                                                     Case number (if known)
           Name

                                                                                                                              Column A               Column B
 Part 1: Additional Page
                                                                                                                              Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                     Do not deduct the      that supports this
 page.                                                                                                                        value of collateral.   claim

2.8 Creditor’s name                                           Describe debtor’s property that is subject to a lien                     $270,812.03            $330,091.21
    Security Bank Crawford                                    Accounts receivable under 90 days
                                                              Test Equipment
     Creditor's mailing address                               Installation/Repair Parts Inventory
      PO Box 90                                               Laser cutter, welder, shelving, ladder, air
      Crawford, TX 76638                                      compressor, break/press, work bench with sander
                                                              and drill press, jacks and tail stands, storage
     Creditor's email address, if known                       cabinets, tow bars, power cart, rollable work stations
                                                              (6); cleaning supplies
                                                              Serviceable and New Installation Service Supplies
     Date debt was incurred              2017
                                                              See continuation page.
     Last 4 digits of account
                                                              Describe the lien
     number

     Do multiple creditors have an interest in the same
                                                        Is the creditor an insider or related party?
     property?
                                                        ❑✔ No
     ❑No.
                                                        ❑Yes.
     ✔Yes. Have you already specified the relative
     ❑
                                                              Is anyone else liable on this claim?
             priority?
                                                              ❑No
         For Asset:                                           ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Accounts receivable under 90 days
          ❑No. Specify each creditor, including this          As of the petition filing date, the claim is:
                                                              Check all that apply.
                                                              ❑Contingent
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑                                                   ❑Unliquidated
                  specified on lines        2.1
                                                              ❑Disputed
         For Asset:
         Test Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1


         For Asset:
         Installation/Repair Parts Inventory
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1


         For Asset:
         Laser cutter, welder, shelving, ladder, air
         compressor, break/press, work bench with
         sander and drill press, jacks and tail stands,
         storage cabinets, tow bars, power cart, rollable
         work stations (6); cleaning supplies
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1




Official Form 206D                                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 6 of 9
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Debtor      OutRight Avionics, LLC                                                                            Case number (if known)
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Serviceable and New Installation Service
         Supplies
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1


         For Asset:
         Wire Room
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1




Official Form 206D                                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                         page 7 of 9
                          Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 23 of 105

Debtor      OutRight Avionics, LLC                                                                              Case number (if known)
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 9
                        Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 24 of 105

Debtor     OutRight Avionics, LLC                                                                     Case number (if known)
           Name

 Part 1: Additional Page

 2.

2.1 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Allegiance Bank                            Test Equipment

                                               Test Equipment

                                               Wire Room

2.2 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Allegiance Bank

2.3 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Ball, Tom

2.4 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Byrd Jr, Jerome

2.5 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Kabbage/Celtic Bank

2.6 Creditor’s name                            Describe debtor’s property that is subject to a lien
    OnDeck Capital, Inc.

2.7 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Plains State Bank

2.8 Creditor’s name                            Describe debtor’s property that is subject to a lien
    Security Bank Crawford                     Wire Room

                                               Wire Room




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 9 of 9
                             Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 25 of 105

 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is:       $49,825.26                      $49,825.26
                                                               Check all that apply.
       Internal Revenue Service
                                                               ✔ Contingent
                                                               ❑
       Insolvency Section                                      ✔ Unliquidated
                                                               ❑
       1919 Smith St., Stop 5022 HOU                           ❑ Disputed
       Houston, TX 77002                                       Basis for the Claim:
                                                                Employment Taxes
       Date or dates debt was incurred
                                                               Is the claim subject to offset?
                                                               ✔ No
                                                               ❑
       Last 4 digits of account                                ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: Outright Avionics 940/941
2.2 Priority creditor’s name and mailing address               As of the petition filing date, the claim is:       $33,136.28                      $33,136.28
                                                               Check all that apply.
       Texas Comptroller of Public Accounts
                                                               ✔ Contingent
                                                               ❑
       111 East 17th Street                                    ✔ Unliquidated
                                                               ❑
       Austin, TX 78774                                        ❑ Disputed
                                                               Basis for the Claim:
       Date or dates debt was incurred


                                                               Is the claim subject to offset?
       Last 4 digits of account                                ✔ No
                                                               ❑
       number                                                  ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: Sales tax, subject to reduction based on
       refunds




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 33
                            Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 26 of 105

Debtor       OutRight Avionics, LLC                                                                                 Case number (if known)
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $7,312.55
       Air Capital Dial, Inc.                                                  Check all that apply.
                                                                               ❑ Contingent
       220 N. Vine                                                             ❑ Unliquidated
                                                                               ❑ Disputed
       Wichita, KS 67203
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $13,546.84
       Aircraft Spruce & Specialty                                             Check all that apply.
                                                                               ❑ Contingent
       225 Airport Circle                                                      ❑ Unliquidated
                                                                               ❑ Disputed
       Corona, CA 92878
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $351.00
       Alamo Plating & Metal Finish                                            Check all that apply.
                                                                               ❑ Contingent
       9230 Converse Business Ln.                                              ❑ Unliquidated
                                                                               ❑ Disputed
       Converse, TX 78109
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $665.00
3.4                                                                            Check all that apply.
       Allied Electronics
                                                                               ❑ Contingent
       7151 Jack Newell Blvd. S                                                ❑ Unliquidated
                                                                               ❑ Disputed
       Fort Worth, TX 76118
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number          2   3    6   5                 ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $14,660.00
3.5                                                                            Check all that apply.
       Amador, Jose A
                                                                               ❑ Contingent
       19603 Swan Valley Dr                                                    ❑ Unliquidated
                                                                               ❑ Disputed
       Cypress, TX 77433
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes




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3.6      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,271.59
         American Express                                                  Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 650448                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75265
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       1   0   0    5              ❑ Yes
3.7      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,931.00
         Amex                                                              Check all that apply.
                                                                           ❑ Contingent
         Correspondence/Bankruptcy                                         ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 981540
                                                                           Basis for the claim:
         El Paso, TX 79998-1540                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred       1/1/2016
                                                                           ❑ Yes
         Last 4 digits of account number       5   5   1    3

3.8      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $800.00
         Anantasomboon, Kris                                               Check all that apply.
                                                                           ❑ Contingent
         705 Glaze Circle                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Hewitt, TX 76643
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $100,000.00
3.9                                                                        Check all that apply.
         Anderson, Roy
                                                                           ❑ Contingent
         4900 Courthouse Rd                                                ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Gulfport, MS 39507
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $5,315.14
3.10                                                                       Check all that apply.
         Apple Card
                                                                           ❑ Contingent
         P.O. Box 7247                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Philadelphia, PA 19170
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       8   9   9    0              ❑ Yes




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3.11 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $42,000.00
         Arana, Carlos                                                     Check all that apply.
                                                                           ❑ Contingent
         15 Split Rail Pl                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Spring, TX 77382
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.12 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $31,564.00
         Aspen Avionics                                                    Check all that apply.
                                                                           ❑ Contingent
         5001 Indian School Road, NE                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Albuquerque, NM 87110
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.13 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,044.07
         Associated Aircraft Supply, LLC                                   Check all that apply.
                                                                           ❑ Contingent
         3250 Stone Myers Parkway                                          ❑ Unliquidated
                                                                           ❑ Disputed
         Grapevine, TX 76051
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $178.56
3.14                                                                       Check all that apply.
         AT&T
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: Cell phone
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number       0   0   0    1

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $299.90
3.15                                                                       Check all that apply.
         Aviall/Boeing Company
                                                                           ❑ Contingent
         PO Box 619048                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75261
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       7   0   9    5              ❑ Yes




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3.16 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $0.00
         Bank of America                                                   Check all that apply.
                                                                           ❑ Contingent
         PO Box 851001                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75285-1001
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred       5/1/2008                    ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $9,504.00
         Beaver, Jason                                                     Check all that apply.
                                                                           ❑ Contingent
         950 Seven Hills Dr 1124                                           ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Henderson, NV 89052
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $67,995.00
         Beecher, Chuck                                                    Check all that apply.
                                                                           ❑ Contingent
         4230 SE King Rd Unit 365                                          ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Portland, OR 97222
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
3.19                                                                       Check all that apply.
         Bentwater Yacht and Country Club
                                                                           ❑ Contingent
         800 Bentwater Dr                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Montgomery, TX 77356-8256
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       0   4   5    2              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,995.00
3.20                                                                       Check all that apply.
         Berman, Josh
                                                                           ❑ Contingent
         14119 Renee Lane                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         College Station, TX 77845
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.21 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,975.00
         BHE & Associates Ltd.                                             Check all that apply.
                                                                           ❑ Contingent
         12002 Warfield St Ste 250                                         ❑ Unliquidated
                                                                           ❑ Disputed
         San Antonio, TX 78216-3219
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.22 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $28,088.40
         Bledsoe, Al                                                       Check all that apply.
                                                                           ❑ Contingent
         1201 The Cape Rd                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Horseshoe Bay, TX 78657
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.23 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,200.00
         Boxwell Avionics                                                  Check all that apply.
                                                                           ❑ Contingent
         3050 Airman Dr.                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Fort Pierce, FL 34946
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,187.50
3.24                                                                       Check all that apply.
         Brandley, Christopher S
                                                                           ❑ Contingent
         12370 Ridgecrest                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Willis, TX 77318
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $25,913.40
3.25                                                                       Check all that apply.
         Bridges, Neal
                                                                           ❑ Contingent
         15421 Highway 12                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Orange, TX 77632
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.26 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $25,914.00
         Briscoe, Robert M                                                 Check all that apply.
                                                                           ❑ Contingent
         4401 Gibson St                                                    ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Houston, TX 77007
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.27 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,371.00
         Buca, Stefan                                                      Check all that apply.
                                                                           ❑ Contingent
         1024 N Oak Cliff Blvd                                             ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Dallas, TX 75208
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.28 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,545.00
         Cal America Mobil                                                 Check all that apply.
                                                                           ❑ Contingent
         4145 Belt Line Rd # 212-247                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Addison, TX 75001-4324
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $16,375.00
3.29                                                                       Check all that apply.
         Capital One
                                                                           ❑ Contingent
         Attn: Bankruptcy                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 30285
                                                                           Basis for the claim:
         Salt Lake City, UT 84130-0285                                     Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred       1/1/2016
                                                                           ❑ Yes
         Last 4 digits of account number       2   9   1    9

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $5,308.00
3.30                                                                       Check all that apply.
         Capital One
                                                                           ❑ Contingent
         Attn: Bankruptcy                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 30285
                                                                           Basis for the claim:
         Salt Lake City, UT 84130-0285                                     Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred       6/1/2015
                                                                           ❑ Yes
         Last 4 digits of account number       1   8   7    7




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3.31 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $63,244.00
         Carper, Paul                                                      Check all that apply.
                                                                           ❑ Contingent
         10070 Airport Road                                                ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Conroe, TX 77303
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.32 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $9,490.80
         Cary, Steve                                                       Check all that apply.
                                                                           ❑ Contingent
         4320 Brownstone Dr                                                ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Beaumont, TX 77706
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.33 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,020.00
         Castleberry Instruments                                           Check all that apply.
                                                                           ❑ Contingent
         13405 Immanuel Rd Ste 1a                                          ❑ Unliquidated
                                                                           ❑ Disputed
         Pflugerville, TX 78660-8338
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,048.00
3.34                                                                       Check all that apply.
         Catalani, Dave
                                                                           ❑ Contingent
         234 Tortoisde Creek Pl                                            ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Spring, TX 77389
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
3.35                                                                       Check all that apply.
         Centerpoint
                                                                           ❑ Contingent
         P.O. Box 4981                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77210-4981
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       1   0   -    8              ❑ Yes




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3.36 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $277.10
         Century Flight Systems, Inc.                                      Check all that apply.
                                                                           ❑ Contingent
         Po Box 610                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Mineral Wells, TX 76068-0610
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.37 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $0.00
         Ces/clsf                                                          Check all that apply.
                                                                           ❑ Contingent
         C/o Acs                                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Utica, NY 13501
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred       6/14/2005                   ✔ No
                                                                           ❑
         Last 4 digits of account number       3   5   1    1              ❑ Yes
3.38 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,950.00
         Chase Card Services                                               Check all that apply.
                                                                           ❑ Contingent
         Attn: Bankruptcy                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 15298
                                                                           Basis for the claim:
         Wilmington, DE 19850                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred       1/1/2016
                                                                           ❑ Yes
         Last 4 digits of account number       4   8   6    4

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $5,004.66
3.39                                                                       Check all that apply.
         Chase Card Services
                                                                           ❑ Contingent
         PO Box 15123                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Wilmington, DE 19850
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       5   5   9    0              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $30.00
3.40                                                                       Check all that apply.
         City of Conroe
                                                                           ❑ Contingent
         Alarms Division                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 140875
                                                                           Basis for the claim:
         Irving, TX 75014                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       9   5   1    5




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3.41 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $188.55
         City of Conroe                                                    Check all that apply.
                                                                           ❑ Contingent
         Water Department                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 1669
                                                                           Basis for the claim:
         Houston, TX 77251                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.42 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,200.00
         Clean Planes "R" Us                                               Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes

3.43 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               unknown
         Coats & Evans, PC                                                 Check all that apply.
                                                                           ❑ Contingent
         Attn: Gary L Evans                                                ❑ Unliquidated
                                                                           ❑ Disputed
         P.O. Box 130246
                                                                           Basis for the claim:
         Spring, TX 77393                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $16,000.00
3.44                                                                       Check all that apply.
         Cohron, John
                                                                           ❑ Contingent
         20630 Sundance Springs Ln                                         ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Spring, TX 77379
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $0.00
3.45                                                                       Check all that apply.
         Comenity Bank/Jared
                                                                           ❑ Contingent
         Attn: Bankruptcy                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 182273
                                                                           Basis for the claim:
         Columbus, OH 43218                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred       9/1/2008
                                                                           ❑ Yes
         Last 4 digits of account number       2   5   2    5




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3.46 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $0.00
         Compass Bank                                                        Check all that apply.
                                                                             ❑ Contingent
         Attn: Bankruptcy                                                    ❑ Unliquidated
                                                                             ❑ Disputed
         PO Box 10566
                                                                             Basis for the claim:
         Birmingham, AL 35296                                                Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
         Date or dates debt was incurred         1/1/2013
                                                                             ❑ Yes
         Last 4 digits of account number         3   5   4    4

3.47 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $761.40
         Consolidated Communications                                         Check all that apply.
                                                                             ❑ Contingent
         P.O. Box 66523                                                      ❑ Unliquidated
                                                                             ❑ Disputed
         Saint Louis, MO 63166-6523
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number         5   5   0    1              ❑ Yes
3.48 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $35,000.00
         Cran, Debbie                                                        Check all that apply.
                                                                             ❑ Contingent
         48 Post Shadown Estate Dr.                                          ❑ Unliquidated
                                                                             ✔ Disputed
                                                                             ❑
         Spring, TX 77389
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               unknown
3.49                                                                         Check all that apply.
         Crossno, James
                                                                             ❑ Contingent
         1400 West Abram c/o Hill Gilstrap, PC                               ✔ Unliquidated
                                                                             ❑
                                                                             ✔ Disputed
                                                                             ❑
         Arlington, TX 76013
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Remarks: Lawsuit pending
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $2,414.00
3.50                                                                         Check all that apply.
         Dallas Avionics
                                                                             ❑ Contingent
         2525 Santa Anna Ave                                                 ❑ Unliquidated
                                                                             ❑ Disputed
         Dallas, TX 75228-1671
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes




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3.51 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $19,580.00
         Depot Avionics, Inc.                                              Check all that apply.
                                                                           ❑ Contingent
         2550 State Avenue                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Alamosa, CO 81101
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.52 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $50.00
         Design Galveston                                                  Check all that apply.
                                                                           ❑ Contingent
         2811 Inridge Dr.                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Austin, TX 78745
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.53 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $15,506.00
         Discover Financial                                                Check all that apply.
                                                                           ❑ Contingent
         Attn: Bankruptcy Department                                       ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 15316
                                                                           Basis for the claim:
         Wilmington, DE 19850-5316                                         Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred       11/1/1995
                                                                           ❑ Yes
         Last 4 digits of account number       5   7   3    3

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $4,608.00
3.54                                                                       Check all that apply.
         Dyer, Scott
                                                                           ❑ Contingent
         2000 Old May Ct                                                   ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         College Station, TX 77845
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $33,333.48
3.55                                                                       Check all that apply.
         Edmo Distributors
                                                                           ❑ Contingent
         18230 E. Mirabeau Pkwy                                            ❑ Unliquidated
                                                                           ❑ Disputed
         Spokane, WA 99216
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.56 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $559.64
         Entergy                                                           Check all that apply.
                                                                           ❑ Contingent
         P.O Box 8104                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Baton Rouge, LA 70891
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       9   6   7    2              ❑ Yes
3.57 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $99,564.00
         Fabian, Joseph                                                    Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 320639                                                   ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Flowood, MS 39232
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.58 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,500.00
         Fillips, Robert                                                   Check all that apply.
                                                                           ❑ Contingent
         435 FM 2917 Rd                                                    ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Alvin, TX 77511
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $23,991.00
3.59                                                                       Check all that apply.
         Frager, David
                                                                           ❑ Contingent
         4016 Enclave Mesa Cir                                             ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Austin, TX 78731
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $22,901.40
3.60                                                                       Check all that apply.
         Frederick, Ben
                                                                           ❑ Contingent
         44 Beckonvale Ct                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         The Woodlands, TX 77382-2652
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.61 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,461.35
         Galik, John G                                                     Check all that apply.
                                                                           ❑ Contingent
         34 Greenview St                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Montgomery, TX 77356
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.62 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,730.77
         Galik, Kristin M                                                  Check all that apply.
                                                                           ❑ Contingent
         34 Greenview St                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Montgomery, TX 77356
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.63 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $56,469.17
         Garmin                                                            Check all that apply.
                                                                           ❑ Contingent
         1200 E. 151st Street                                              ❑ Unliquidated
                                                                           ❑ Disputed
         Olathe, KS 66062
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,202.83
3.64                                                                       Check all that apply.
         Gene, John P
                                                                           ❑ Contingent
         305 Mockingbird Lane                                              ❑ Unliquidated
                                                                           ❑ Disputed
         Weatherford, TX 76086
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,540.00
3.65                                                                       Check all that apply.
         General Aviation Services
                                                                           ❑ Contingent
         5260 Central PKWY, Hanger 14                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77303
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.66 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $601.84
         Genuine Aircraft Hardware                                         Check all that apply.
                                                                           ❑ Contingent
         4250 Aerotech Ctr Way, Unit B                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Paso Robles, CA 93446
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       T   0   0    8              ❑ Yes
3.67 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,554.75
         Gerthe, Christian D.F.                                            Check all that apply.
                                                                           ❑ Contingent
         24909 Stone Xing                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Montgomery, TX 77316
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.68 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,526.26
         Gerthe, Dieter HM                                                 Check all that apply.
                                                                           ❑ Contingent
         24909 Stone Xing                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Montgomery, TX 77316
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $44,000.00
3.69                                                                       Check all that apply.
         Giese, Dave
                                                                           ❑ Contingent
         6110 Riverchase Trl                                               ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Kingwood, TX 77345
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,277.92
3.70                                                                       Check all that apply.
         GoDaddy
                                                                           ❑ Contingent
         14455 North Hayden Rd. 219                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Scottsdale, AZ 85260
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       9   5   4    0              ❑ Yes




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3.71 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $5,671.00
         Gs Bank Usa                                                         Check all that apply.
                                                                             ❑ Contingent
         Lockbox 6112                                                        ❑ Unliquidated
                                                                             ❑ Disputed
         Philadelphia, PA 19170
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred        11/13/2019                   ✔ No
                                                                             ❑
         Last 4 digits of account number        8   8   0     2              ❑ Yes
3.72 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $25,799.40
         Guzman, Joe                                                         Check all that apply.
                                                                             ❑ Contingent
                                                                             ❑ Unliquidated
                                                                             ✔ Disputed
                                                                             ❑
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number
                                                                             ❑ Yes

3.73 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               unknown
         Guzman, Joseph                                                      Check all that apply.
                                                                             ❑ Contingent
         1400 West Abram c/o Hill Gilstrap PC                                ✔ Unliquidated
                                                                             ❑
                                                                             ✔ Disputed
                                                                             ❑
         Arlington, TX 76013
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Remarks: Lawsuit pending
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $22,422.00
3.74                                                                         Check all that apply.
         Hebert, Aaron
                                                                             ❑ Contingent
         5215 N Twin City Hwy                                                ❑ Unliquidated
                                                                             ✔ Disputed
                                                                             ❑
         Port Arthur, TX 77642
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $41,342.40
3.75                                                                         Check all that apply.
         Hicks, Michael
                                                                             ❑ Contingent
         3306 Cunningham Rd                                                  ❑ Unliquidated
                                                                             ✔ Disputed
                                                                             ❑
         Wallis, TX 77485
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes




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3.76 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,494.17
         High Desert Avionics                                              Check all that apply.
                                                                           ❑ Contingent
         4555-9 West G Ave                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Lancaster, CA 93536
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.77 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $15,212.40
         Hoffpauir, James                                                  Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 896                                                      ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Onalaska, TX 77360
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.78 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $41,827.80
         Holden, David W                                                   Check all that apply.
                                                                           ❑ Contingent
         68 Rua Martine                                                    ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Miramar Beach, FL 32550
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,173.08
3.79                                                                       Check all that apply.
         Holder, Barbara A
                                                                           ❑ Contingent
         12152 Ivy Drive                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77303
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,173.08
3.80                                                                       Check all that apply.
         Holder, Robert W
                                                                           ❑ Contingent
         12152 Ivy Drive                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77303
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.81 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,209.16
         Impress Computers                                                 Check all that apply.
                                                                           ❑ Contingent
         21733 Provincial Blvd 110                                         ❑ Unliquidated
                                                                           ❑ Disputed
         Katy, TX 77450
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.82 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,187.50
         Infante, Jon L                                                    Check all that apply.
                                                                           ❑ Contingent
         988 Arbor Glen                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77303
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.83 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,585.66
         James, Patrick A                                                  Check all that apply.
                                                                           ❑ Contingent
         12370 Ridgecrest                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Willis, TX 77318
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $35,500.00
3.84                                                                       Check all that apply.
         Johnson, Van
                                                                           ❑ Contingent
         27911 FM 2100 Rd                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Huffman, TX 77336
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $900.00
3.85                                                                       Check all that apply.
         JP Instruments, Inc
                                                                           ❑ Contingent
         3185-B Airway Avenue                                              ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.86 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $69,995.00
         K&B Aviation GP LLC                                               Check all that apply.
                                                                           ❑ Contingent
         Attn: Brent Franks                                                ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         6609 Avenue U
                                                                           Basis for the claim:
         Houston, TX 77011                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.87 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,280.00
         Keener, Steven D                                                  Check all that apply.
                                                                           ❑ Contingent
         9782 West Shore Dr                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Willis, TX 77318
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.88 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $11,088.00
         Kelley, Larry                                                     Check all that apply.
                                                                           ❑ Contingent
         7165 Royal Meadows St                                             ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Port Arthur, TX 77642
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,282.00
3.89                                                                       Check all that apply.
         Lacock, Lucas D
                                                                           ❑ Contingent
         1923 W Welsford Dr                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Spring, TX 77386-2544
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $21,119.00
3.90                                                                       Check all that apply.
         Lauth, Andy
                                                                           ❑ Contingent
         10013 Military Dr                                                 ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Conroe, TX 77303
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.91 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $66,922.40
         Leofsky, Richard                                                  Check all that apply.
                                                                           ❑ Contingent
         14100 Lakeport Dr                                                 ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Willis, TX 77318
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.92 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $390.43
         LexisNexis                                                        Check all that apply.
                                                                           ❑ Contingent
         RELX Inc. DBA LexisNexis                                          ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 733106
                                                                           Basis for the claim:
         Dallas, TX 75373                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       P   H 7      6
         Remarks: Galik Law Firm
3.93 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               unknown
         Lexus Financial Services                                          Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 4102                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Carol Stream, IL 60197-4102
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       T   4   2    9              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $18,899.40
3.94                                                                       Check all that apply.
         Limbaugh, Robert
                                                                           ❑ Contingent
         117 Fairhope Ave                                                  ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Fairhope, AL 36532
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $19,452.00
3.95                                                                       Check all that apply.
         Martin, Gary
                                                                           ❑ Contingent
         440 Forest Dr                                                     ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Lake Jackson, TX 77566
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.96     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $25,000.00
         Martin, Randy                                                      Check all that apply.
                                                                            ❑ Contingent
         4973 Hilltop Ranch Ct                                              ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Montgomery, TX 77316
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.97     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $20,937.00
         McCaskill, Sam                                                     Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 340339                                                    ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Austin, TX 78734
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.98     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $80,000.00
         McDaniel, Joe                                                      Check all that apply.
                                                                            ❑ Contingent
         6027 US Highway 259 N                                              ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Henderson, TX 75652
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $9,135.00
3.99                                                                        Check all that apply.
         McQuown, Todd
                                                                            ❑ Contingent
         108 Ebner Lake Front Dr                                            ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Montgomery, TX 77316
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,548.33
3.100                                                                       Check all that apply.
         Mid-Continent Instruments
                                                                            ❑ Contingent
         9400 E 34th Street North                                           ❑ Unliquidated
                                                                            ❑ Disputed
         Wichita, KS 67226
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       0   4   3     7              ❑ Yes




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3.101 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              unknown
         Montgomery County MUD #18                                          Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 1170                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Montgomery, TX 77356
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       3   0   0     5              ❑ Yes
3.102 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $512.28
         Mouser Electronics                                                 Check all that apply.
                                                                            ❑ Contingent
         1000 North Main Street                                             ❑ Unliquidated
                                                                            ❑ Disputed
         Mansfield, TX 76063
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       0   3   5     1              ❑ Yes
3.103 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $35,045.40
         Murphy, David                                                      Check all that apply.
                                                                            ❑ Contingent
         19606 Powerscourt Dr                                               ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Humble, TX 77346
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $34,353.37
3.104                                                                       Check all that apply.
         MW Aircraft Services
                                                                            ❑ Contingent
         10298 C Pickerings Mem Dr                                          ❑ Unliquidated
                                                                            ❑ Disputed
         Conroe, TX 77303
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $25,887.00
3.105                                                                       Check all that apply.
         Navient
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 9000
                                                                            Basis for the claim:
         Wiles-Barr, PA 18773-9000                                          Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       1/1/2001
                                                                            ❑ Yes
         Last 4 digits of account number       0   1   3     1




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3.106 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $29,634.00
         Nelnet                                                             Check all that apply.
                                                                            ❑ Contingent
         Attn: Bankruptcy Claims                                            ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 82505
                                                                            Basis for the claim:
         Lincoln, NE 68501-2505                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       6/1/2005
                                                                            ❑ Yes
         Last 4 digits of account number       7   1   9     9

3.107 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $36,240.00
         Osterhus, Doug                                                     Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 72                                                        ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Bellaire, TX 77402
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.108 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,995.00
         Pearsall, Mason                                                    Check all that apply.
                                                                            ❑ Contingent
         12507 Telge Road                                                   ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Cypress, TX 77429
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $100.00
3.109                                                                       Check all that apply.
         Pitney Bowes
                                                                            ❑ Contingent
         3001 Summer St                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Stamford, CT 06905-4317
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       6   5   4     1              ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,942.50
3.110                                                                       Check all that apply.
         Plane Den Aircraft Structures, LLC
                                                                            ❑ Contingent
         1137 Brecon Lane                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Austin, TX 78748
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.111 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
         Pool Tec Pool & Spa                                               Check all that apply.
                                                                           ❑ Contingent
         17118 Grey Oaks Dr                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77385
                                                                            Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.112 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $2,537.50
         Probst, Adam R                                                    Check all that apply.
                                                                           ❑ Contingent
         265 Thunderbird Dr                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77304
                                                                            Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.113 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $2,628.00
         Putz Jr, Robert H                                                 Check all that apply.
                                                                           ❑ Contingent
         3306 Durant Ct                                                    ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Bryan, TX 77802
                                                                            Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $21,068.40
3.114                                                                      Check all that apply.
         Rance, Cory
                                                                           ❑ Contingent
         12071 S Whitehall Rd                                              ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         Moody, TX 76557
                                                                            Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
3.115                                                                      Check all that apply.
         Rance, Cory
                                                                           ❑ Contingent
         1400 West Abram c/o Hill Gilstrap, PC                             ✔ Unliquidated
                                                                           ❑
                                                                           ✔ Disputed
                                                                           ❑
         Arlington, TX 76013
                                                                            Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Remarks: Lawsuit pending




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3.116 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $800.00
         Roberston, Thomas A                                                Check all that apply.
                                                                            ❑ Contingent
         311 Elkins Lake                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Huntsville, TX 77340
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.117 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $12,522.00
         Robinson, Joey and Casey                                           Check all that apply.
                                                                            ❑ Contingent
         311 Elkins Lane                                                    ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Huntsville, TX 77340
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.118 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $8,172.00
         Schultz, Daniel                                                    Check all that apply.
                                                                            ❑ Contingent
         16192 Coastal Hwy                                                  ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Lewes, DE 19958-3608
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.119                                                                       Check all that apply.
         Security Service FCU
                                                                            ❑ Contingent
         Risk Management                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 691586
                                                                            Basis for the claim:
         San Antonio, TX 78269                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       10/1/2006
                                                                            ❑ Yes
         Last 4 digits of account number       2   0   2     0

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,425.00
3.120                                                                       Check all that apply.
         Seiler Mitby, PLLC
                                                                            ❑ Contingent
         Attn: Kenna Seiler                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         2700 Research Forrest Dr 100
                                                                            Basis for the claim:
         Spring, TX 77381                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number




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3.121 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,848.00
         Sindhu, Azhar                                                      Check all that apply.
                                                                            ❑ Contingent
         19123 Aquatic Dr                                                   ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Humble, TX 77346
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.122 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $0.00
         Snap On Crdt                                                       Check all that apply.
                                                                            ❑ Contingent
         950 Technology Way Suite 301                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Libertyville, IL 60048
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       8/4/2005                     ✔ No
                                                                            ❑
         Last 4 digits of account number       3   8   2     5              ❑ Yes
3.123 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $12,000.00
         Souders, Steve                                                     Check all that apply.
                                                                            ❑ Contingent
         37703 Parkway Oaks                                                 ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Magnolia, TX 77355
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.124                                                                       Check all that apply.
         Synchrony Bank/Care Credit
                                                                            ❑ Contingent
         Attn: Bankruptcy Dept                                              ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 965064
                                                                            Basis for the claim:
         Orlando, FL 32896-5060                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       5/1/2017
                                                                            ❑ Yes
         Last 4 digits of account number       4   4   1     7

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
3.125                                                                       Check all that apply.
         Tachus
                                                                            ❑ Contingent
         2407 Timberloch Place G                                            ❑ Unliquidated
                                                                            ❑ Disputed
         Spring, TX 77389
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.126 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $951.09
         Texas Aircraft Instruments                                         Check all that apply.
                                                                            ❑ Contingent
         1911 South Gordon Street                                           ❑ Unliquidated
                                                                            ❑ Disputed
         Alvin, TX 77511
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.127 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $11,453.19
         Textron Aviation                                                   Check all that apply.
                                                                            ❑ Contingent
         23260 Newark Place                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Chicago, IL
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       0   9   4     6              ❑ Yes
3.128 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $30,778.00
         Toyota Financial Services                                          Check all that apply.
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 8026
                                                                            Basis for the claim:
         Cedar Rapids, IA 52409-8026                                        Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       5/1/2019
                                                                            ❑ Yes
         Last 4 digits of account number       T   4   2     9

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.129                                                                       Check all that apply.
         Toyota Financial Services
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 8026
                                                                            Basis for the claim:
         Cedar Rapids, IA 52409-8026                                        Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       12/1/2016
                                                                            ❑ Yes
         Last 4 digits of account number        W 7    2     9

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10,888.00
3.130                                                                       Check all that apply.
         Tuggle , John
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number
                                                                            ❑ Yes
         Remarks: OutRight Avionics Customer Deposit




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3.131 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $357.08
         UPS                                                                Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 7247-0244                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Philadelphia, PA 19170
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       1   8   7     W              ❑ Yes
3.132 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $18,871.00
         USAA Federal Savings Bank                                          Check all that apply.
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         10750 McDermott Freeway
                                                                            Basis for the claim:
         San Antonio,, TX 78288-9876                                        Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       8/1/1995
                                                                            ❑ Yes
         Last 4 digits of account number       3   8   3     6

3.133 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              unknown
         USAA Property and Casualty                                         Check all that apply.
                                                                            ❑ Contingent
         10750 McDermott Fwy                                                ❑ Unliquidated
                                                                            ❑ Disputed
         San Antonio, TX 78288-0570
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       5   6   2     8              ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $9,738.75
3.134                                                                       Check all that apply.
         Van Bortel Aircraft, Inc
                                                                            ❑ Contingent
         4912 S Collins St                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         Arlington, TX 76016
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $8,397.00
3.135                                                                       Check all that apply.
         Venteicher, Gerry
                                                                            ❑ Contingent
         121 Southwood Dr                                                   ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Bossier City, LA 71111-6050
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 28 of 33
                           Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 53 of 105

Debtor       OutRight Avionics, LLC                                                                           Case number (if known)
            Name




 Part 2: Additional Page

3.136 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              unknown
         Verizon Wireless                                                   Check all that apply.
                                                                            ❑ Contingent
         PO Box 489                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Newark, NJ 07101
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       0   0   0     1              ❑ Yes
3.137 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,428.00
         Vineyard, David                                                    Check all that apply.
                                                                            ❑ Contingent
         324 Burrows St                                                     ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Nacogdoches, TX 75965
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.138 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              unknown
         Vivent-Security System                                             Check all that apply.
                                                                            ❑ Contingent
         62992 Collections Dr                                               ❑ Unliquidated
                                                                            ❑ Disputed
         Chicago, IL 60693-0629
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $35,699.40
3.139                                                                       Check all that apply.
         VNE Aviation, LLC
                                                                            ❑ Contingent
         Attn: Michael Wise                                                 ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         675 Clear Springs Hollow
                                                                            Basis for the claim:
         Buda, TX 78610                                                     Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.140                                                                       Check all that apply.
         Volkswagen Credit, Inc
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 3
                                                                            Basis for the claim:
         Hillboro, OR 97123-0003                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       9/1/2008
                                                                            ❑ Yes
         Last 4 digits of account number       6   7   6     8




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 29 of 33
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Debtor       OutRight Avionics, LLC                                                                           Case number (if known)
            Name




 Part 2: Additional Page

3.141 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $54,824.40
         Walker, George                                                     Check all that apply.
                                                                            ❑ Contingent
         12412 Sagittarius Dr E                                             ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Willis, TX 77318
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.142 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              unknown
         Walker, George                                                     Check all that apply.
                                                                            ❑ Contingent
         c/o Hill Gilstrap, PC                                              ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Arlington, TX 76013
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Remarks: Lawsuit pending
3.143 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $178.58
         Watchdog Security                                                  Check all that apply.
                                                                            ❑ Contingent
         330 Rayford Rd. 207                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Spring, TX 77386
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $20,655.00
3.144                                                                       Check all that apply.
         Webber, Bruce
                                                                            ❑ Contingent
         201 Stearman Dr                                                    ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Georgetown, TX 78628
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.145                                                                       Check all that apply.
         Wells Fargo Bank
                                                                            ❑ Contingent
         Attn: Written Correspondnce Dept                                   ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 10335
                                                                            Basis for the claim:
         Des Moines, IA 50306                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       9/1/2007
                                                                            ❑ Yes
         Last 4 digits of account number       0   0   0     1




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 30 of 33
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Debtor       OutRight Avionics, LLC                                                                           Case number (if known)
            Name




 Part 2: Additional Page

3.146 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $0.00
         Wells Fargo Bank NA                                                Check all that apply.
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         1 Home Campus MAC X2303-01A
                                                                            Basis for the claim:
         Des Moines, IA 50328                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       8/1/2014
                                                                            ❑ Yes
         Last 4 digits of account number       3   8   6     7

3.147 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $0.00
         Wells Fargo Bank NA                                                Check all that apply.
                                                                            ❑ Contingent
         Attn: Bankruptcy                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         1 Home Campus MAC X2303-01A
                                                                            Basis for the claim:
         Des Moines, IA 50328                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred       5/2/2008
                                                                            ❑ Yes
         Last 4 digits of account number       6   7   6     5

3.148 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,121.00
         Wf/gallery                                                         Check all that apply.
                                                                            ❑ Contingent
         Po Box 14517                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50306
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       5/1/2017                     ✔ No
                                                                            ❑
         Last 4 digits of account number       6   1   4     1              ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $7,699.00
3.149                                                                       Check all that apply.
         Wf/gallery
                                                                            ❑ Contingent
         Po Box 14517                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50306
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       5/1/2017                     ✔ No
                                                                            ❑
         Last 4 digits of account number       6   1   3     3              ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.150                                                                       Check all that apply.
         Wf/matfirm
                                                                            ❑ Contingent
         Po Box 14517                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50306
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       8/30/2015                    ✔ No
                                                                            ❑
         Last 4 digits of account number       0   7   1     5              ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                       page 31 of 33
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Debtor       OutRight Avionics, LLC                                                                           Case number (if known)
            Name




 Part 2: Additional Page

3.151 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $9,284.45
         Wheless, Ryan                                                      Check all that apply.
                                                                            ❑ Contingent
         13810 Champion Forest Dr 02                                        ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Houston, TX 77069
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.152 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $9,770.00
         WireMasters                                                        Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 734418                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Chicago, IL 60673
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       2   3   7     8              ❑ Yes
3.153 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $20,549.00
         Wootton, Don                                                       Check all that apply.
                                                                            ❑ Contingent
         22606 Main Blvd #1                                                 ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Tomball, TX 77377
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
3.154                                                                       Check all that apply.
         Xylon Aviation LLC
                                                                            ❑ Contingent
         1050 Bentwater Dr.                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Montgomery, TX 77356
                                                                            Basis for the claim: Lease
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 32 of 33
                          Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 57 of 105

Debtor       OutRight Avionics, LLC                                                                   Case number (if known)
             Name


 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $82,961.54




  5b. Total claims from Part 2                                                        5b.              $1,971,797.47
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $2,054,759.01
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 33 of 33
                             Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 58 of 105

 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                          Chapter   7                                                            ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       Office/Shop Lease                            Xylon Aviation LLC
2.1     for and the nature of the debtor’s
        interest                                  Contract to be REJECTED                      1050 Bentwater Dr.

        State the term remaining                                                               Montgomery, TX 77356
                                                  24 months
        List the contract number of any
        government contract

        State what the contract or lease is
2.2     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.3     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 1
                             Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 59 of 105

 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                                                                                                   ❑Check if this is an
                                                                                                                                              amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ❑No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔Yes
        ❑
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                       Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                       that apply:

  2.1     Galik, John G                           34 Greenview St                                                   Allegiance Bank                     ✔D
                                                                                                                                                        ❑
                                                  Street
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                  Montgomery, TX 77356
                                                  City                                State         ZIP Code
                                                                                                                    Allegiance Bank                     ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                                                                                    Plains State Bank                   ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                                                                                    Security Bank Crawford              ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                                                                                    Byrd Jr, Jerome                     ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                                                                                    Ball, Tom                           ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                                                                                    Kabbage/Celtic Bank                 ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G
                                                                                                                    OnDeck Capital, Inc.                ✔D
                                                                                                                                                        ❑
                                                                                                                                                        ❑E/F
                                                                                                                                                        ❑G


Official Form 206H                                                         Schedule H: Codebtors                                                               page 1 of 3
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Debtor      OutRight Avionics, LLC                                                                       Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                   Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                   that apply:




  2.2     Galik, Kristin Michelle       34 Greenview Street                                               Byrd Jr, Jerome           ✔D
                                                                                                                                    ❑
                                        Street
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G
                                        Montgomery, TX 77356
                                        City                                   State        ZIP Code




  2.3     Galik, Kristin M              34 Greenview St                                                   Allegiance Bank           ✔D
                                                                                                                                    ❑
                                        Street
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G
                                        Montgomery, TX 77356
                                        City                                   State        ZIP Code
                                                                                                          Allegiance Bank           ✔D
                                                                                                                                    ❑
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G

                                                                                                          Plains State Bank         ✔D
                                                                                                                                    ❑
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G

                                                                                                          Security Bank Crawford    ✔D
                                                                                                                                    ❑
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G

                                                                                                          Ball, Tom                 ✔D
                                                                                                                                    ❑
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G

                                                                                                          Kabbage/Celtic Bank       ✔D
                                                                                                                                    ❑
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G

                                                                                                          OnDeck Capital, Inc.      ✔D
                                                                                                                                    ❑
                                                                                                                                    ❑E/F
                                                                                                                                    ❑G




Official Form 206H                                                     Schedule H: Codebtors                                                 page 2 of 3
                         Case 20-32115 Document 1 Filed in TXSB on 04/07/20 Page 61 of 105

Debtor      OutRight Avionics, LLC                                                                       Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

  2.4
                                        Street




                                        City                                   State        ZIP Code




  2.5
                                        Street




                                        City                                   State        ZIP Code




  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 3 of 3
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 Fill in this information to identify the case:

 Debtor name                                                 OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                                  Southern District of Texas, Houston Division


 Case number (if known):                                                                         Chapter            7                                                                                 ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                            12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                               $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                         $1,375,780.78

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                       $1,375,780.78




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                          $1,444,314.51



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                               $82,961.54


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +           $1,971,797.47




 4. Total liabilities..............................................................................................................................................................................                       $3,499,073.52

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
          Identify the beginning and ending dates of the debtor’s fiscal year, which may         Sources of revenue                        Gross revenue
          be a calendar year                                                                      Check all that apply                     (before deductions and
                                                                                                                                           exclusions)

         From the beginning of the                                                               ✔ Operating a business
                                                                                                 ❑                                                              $724,024.03
         fiscal year to filing date:              From 01/01/2020
                                                        MM/ DD/ YYYY
                                                                        to    Filing date
                                                                                                 ❑Other

         For prior year:                          From 01/01/2019       to    12/31/2019         ✔ Operating a business
                                                                                                 ❑                                                           $2,580,650.76
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other

         For the year before that:                From 01/01/2018       to    12/31/2018         ✔ Operating a business
                                                                                                 ❑                                                           $2,596,229.69
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                                 Description of sources of revenue         Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the
       fiscal year to filing date:            From 01/01/2020          to    Filing date
                                                       MM/ DD/ YYYY


       For prior year:                        From 01/01/2019          to    12/31/2019
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY


       For the year before that:              From 01/01/2018          to    12/31/2018
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor           OutRight Avionics, LLC                                                                          Case number (if known)
               Name



 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ❑None

    Creditor’s name and address                               Dates             Total amount or value          Reasons for payment or transfer
                                                                                                               Check all that apply


 3.1.    Aircraft Spruce & Specialty                                                        $22,149.00         ❑Secured debt
        Creditor's name
                                                                                                               ❑Unsecured loan repayments
         225 Airport Circle
        Street
                                                                                                               ✔Suppliers or vendors
                                                                                                               ❑
                                                                                                               ❑Services
                                                                                                               ❑Other
         Corona, CA 92878
        City                           State   ZIP Code


 3.2.    Allegiance Bank                                                                    $40,001.78         ✔Secured debt
                                                                                                               ❑
        Creditor's name
                                                                                                               ❑Unsecured loan repayments
         8727 W. Sam Houston Parkway N. Suite 100
        Street
                                                                                                               ❑Suppliers or vendors
                                                                                                               ❑Services
                                                                                                               ❑Other
         Houston, TX 77040
        City                           State   ZIP Code


 3.3.    Aviall/Boeing Company                                                              $27,395.40         ❑Secured debt
        Creditor's name
                                                                                                               ❑Unsecured loan repayments
         PO Box 619048
        Street
                                                                                                               ✔Suppliers or vendors
                                                                                                               ❑
                                                                                                               ❑Services
                                                                                                               ❑Other
         Dallas, TX 75261
        City                           State   ZIP Code


 3.4.    Avidyne                                                                             $5,410.00         ❑Secured debt
        Creditor's name
                                                                                                               ❑Unsecured loan repayments
                                                                                                               ✔Suppliers or vendors
                                                                                                               ❑
        Street
                                                                                                               ❑Services
                                                                                                               ❑Other
        City                           State   ZIP Code


 3.5.    Blue Cross Blue Shield                                                             $12,259.68         ❑Secured debt
        Creditor's name
                                                                                                               ❑Unsecured loan repayments
                                                                                                               ❑Suppliers or vendors
                                                                                                               ✔Services
        Street
                                                                                                               ❑
                                                                                                               ❑Other
        City                           State   ZIP Code




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Debtor            OutRight Avionics, LLC                                                                             Case number (if known)
                 Name



 3.6.    Coats & Evans, PC                                                                      $17,165.00         ❑Secured debt
         Creditor's name
                                                                                                                   ❑Unsecured loan repayments
                                                                                                                   ❑Suppliers or vendors
                                                                                                                   ✔Services
         Street
         P.O. Box 130246
                                                                                                                   ❑
                                                                                                                   ❑Other
         Spring, TX 77393
         City                          State       ZIP Code


 3.7.    Dallas Avionics                                                                         $4,267.16         ❑Secured debt
         Creditor's name
                                                                                                                   ❑Unsecured loan repayments
         2525 Santa Anna Ave
         Street
                                                                                                                   ✔Suppliers or vendors
                                                                                                                   ❑
                                                                                                                   ❑Services
                                                                                                                   ❑Other
         Dallas, TX 75228-1671
         City                          State       ZIP Code


 3.8.    Elliott Aviation                                                                       $11,000.00         ❑Secured debt
         Creditor's name
                                                                                                                   ❑Unsecured loan repayments
                                                                                                                   ✔Suppliers or vendors
                                                                                                                   ❑
         Street
                                                                                                                   ❑Services
                                                                                                                   ❑Other
         City                          State       ZIP Code


 3.9.    Garmin                                                                                $210,000.00         ❑Secured debt
         Creditor's name
                                                                                                                   ❑Unsecured loan repayments
         1200 E. 151st Street
         Street
                                                                                                                   ✔Suppliers or vendors
                                                                                                                   ❑
                                                                                                                   ❑Services
                                                                                                                   ❑Other
         Olathe, KS 66062
         City                          State       ZIP Code


 3.10.     General Avionics                                                                      $12,511.84         ❑Secured debt
          Creditor's name
                                                                                                                    ❑Unsecured loan repayments
                                                                                                                    ✔Suppliers or vendors
                                                                                                                    ❑
          Street
                                                                                                                    ❑Services
                                                                                                                    ❑Other
          City                             State    ZIP Code


 3.11.     Greatland Holdings                                                                     $5,400.00         ❑Secured debt
          Creditor's name
                                                                                                                    ❑Unsecured loan repayments
                                                                                                                    ✔Suppliers or vendors
                                                                                                                    ❑
          Street
                                                                                                                    ❑Services
                                                                                                                    ❑Other
          City                             State    ZIP Code




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Debtor          OutRight Avionics, LLC                                                                         Case number (if known)
                Name



 3.12.   IPFS                                                                               $5,016.04         ❑Secured debt
         Creditor's name
                                                                                                              ❑Unsecured loan repayments
                                                                                                              ❑Suppliers or vendors
                                                                                                              ✔Services
         Street
                                                                                                              ❑
                                                                                                              ❑Other
         City                            State   ZIP Code


 3.13.   Mid-Continent Instruments                                                          $8,480.97         ❑Secured debt
         Creditor's name
                                                                                                              ❑Unsecured loan repayments
         9400 E 34th Street North
         Street
                                                                                                              ✔Suppliers or vendors
                                                                                                              ❑
                                                                                                              ❑Services
                                                                                                              ❑Other
         Wichita, KS 67226
         City                            State   ZIP Code


 3.14.   Nason Associates                                                                   $6,174.00         ❑Secured debt
         Creditor's name
                                                                                                              ❑Unsecured loan repayments
                                                                                                              ❑Suppliers or vendors
                                                                                                              ✔Services
         Street
                                                                                                              ❑
                                                                                                              ❑Other
         City                            State   ZIP Code


 3.15.   Schnur, Peter                                                                      $6,651.00         ❑Secured debt
         Creditor's name
                                                                                                              ❑Unsecured loan repayments
         Street
                                                                                                              ❑Suppliers or vendors
                                                                                                              ❑Services
                                                                                                              ✔Other Refund
                                                                                                              ❑
         City                            State   ZIP Code


 3.16.   Plains State Bank                                                                  $4,217.86         ✔Secured debt
                                                                                                              ❑
         Creditor's name
                                                                                                              ❑Unsecured loan repayments
         PO Box 62005
         Street
                                                                                                              ❑Suppliers or vendors
                                                                                                              ❑Services
                                                                                                              ❑Other
         Houston, TX 77205
         City                            State   ZIP Code


 3.17.   Tate, Richard                                                                      $7,500.00         ❑Secured debt
         Creditor's name
                                                                                                              ❑Unsecured loan repayments
                                                                                                              ❑Suppliers or vendors
                                                                                                              ✔Services
         Street
                                                                                                              ❑
                                                                                                              ❑Other
         City                            State   ZIP Code




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Debtor          OutRight Avionics, LLC                                                                                 Case number (if known)
                Name



 3.18.   Anderson, Roy                                                                          $172,432.00            ❑Secured debt
         Creditor's name
                                                                                                                       ❑Unsecured loan repayments
         4900 Courthouse Rd
         Street
                                                                                                                       ❑Suppliers or vendors
                                                                                                                       ❑Services
                                                                                                                       ✔Other Refund
                                                                                                                       ❑
         Gulfport, MS 39507
         City                            State   ZIP Code


 3.19.   Security Bank Crawford                                                                  $67,301.78            ✔Secured debt
                                                                                                                       ❑
         Creditor's name
                                                                                                                       ❑Unsecured loan repayments
         PO Box 90
         Street
                                                                                                                       ❑Suppliers or vendors
                                                                                                                       ❑Services
                                                                                                                       ❑Other
         Crawford, TX 76638
         City                            State   ZIP Code


 3.20.   Texas Comptroller of Public Accounts                                                    $10,916.86            ❑Secured debt
         Creditor's name
                                                                                                                       ❑Unsecured loan repayments
         111 East 17th Street
         Street
                                                                                                                       ❑Suppliers or vendors
                                                                                                                       ❑Services
                                                                                                                       ✔Other taxes
                                                                                                                       ❑
         Austin, TX 78774
         City                            State   ZIP Code


 3.21.   Ratcliff, Steve                                                                           $8,900.00           ❑Secured debt
         Creditor's name
                                                                                                                       ❑Unsecured loan repayments
         Street
                                                                                                                       ❑Suppliers or vendors
                                                                                                                       ❑Services
                                                                                                                       ✔Other Refund
                                                                                                                       ❑
         City                            State   ZIP Code


 3.22.   Internal Revenue Service                                                                  $3,418.00           ❑Secured debt
         Creditor's name
                                                                                                                       ❑Unsecured loan repayments
         1919 Smith St., Stop 5022 HOU
         Street
                                                                                                                       ❑Suppliers or vendors
         Insolvency Section                                                                                            ❑Services
                                                                                                                       ✔Other taxes
                                                                                                                       ❑
         Houston, TX 77002
         City                            State   ZIP Code


 3.23.   Xylon Aviation LLC                                                                      $64,003.87            ❑Secured debt
         Creditor's name
                                                                                                                       ❑Unsecured loan repayments
         1050 Bentwater Dr.
         Street
                                                                                                                       ❑Suppliers or vendors
                                                                                                                       ❑Services
                                                                                                                       ✔Other Lease
                                                                                                                       ❑
         Montgomery, TX 77356
         City                            State   ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ✔None
    ❑


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Debtor           OutRight Avionics, LLC                                                                                 Case number (if known)
               Name


    Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



 4.1.
        Creditor's name


        Street




        City                          State    ZIP Code

         Relationship to debtor



 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ✔None
    ❑
    Creditor’s name and address                                Description of the property                                   Date                       Value of property



 5.1.
        Creditor's name


        Street




        City                          State    ZIP Code

 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ❑None
    Creditor’s name and address                                Description of the action creditor took                       Date action was            Amount
                                                                                                                             taken


 5.1.    Plains State Bank                                     Set off after garnishment served.                              3/17/2020                         $26,375.59
        Creditor's name
         PO Box 62005                                           XXXX–
        Street



         Houston, TX 77205
        City                          State    ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ❑None




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Debtor           OutRight Avionics, LLC                                                                               Case number (if known)
               Name


 7.1.    Case title                               Nature of case                              Court or agency's name and address                     Status of case

         See attached                                                                        See attached                                           ✔Pending
                                                                                                                                                    ❑
                                                                                                                                                    ❑On appeal
                                                                                             Name

         Case number
                                                                                             Street
                                                                                                                                                    ❑Concluded


                                                                                             City                           State    ZIP Code

 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑
 8.1.    Custodian’s name and address                         Description of the property                             Value


        Custodian’s name
                                                              Case title                                              Court name and address
        Street
                                                                                                                     Name

                                                              Case number                                            Street
        City                          State   ZIP Code



                                                              Date of order or assignment                            City                          State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ❑None
 9.1.    Recipient’s name and address                         Description of the gifts or contributions                       Dates given         Value

         Cy Fair Intruders                                                                                                   8/15/19, 10/6/19,                 $2,024.99
        Recipient’s name                                                                                                     10/18/19

        Street




        City                          State   ZIP Code


         Recipient’s relationship to debtor

         Daughter's Softball TEam

 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔None
        ❑




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Debtor          OutRight Avionics, LLC                                                                                Case number (if known)
                Name


     Description of the property lost and how the loss           Amount of payments received for the loss                           Date of loss       Value of property
     occurred                                                    If you have received payments to cover the loss, for                                  lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


 10.1.


 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
     person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
     ❑None


 11.1.    Who was paid or who received the transfer?              If not money, describe any property transferred                Dates                 Total amount or
                                                                                                                                                       value

         Byman & Associates, PLLC                                 Attorney’s Fee                                                 4/3/2020                        $7,500.00


          Address

         7924 Broadway Suite 104
         Street


         Pearland, TX 77581
         City                            State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor



 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

 12.1.     Name of trust or device                              Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                               were made               value




           Trustee




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Debtor          OutRight Avionics, LLC                                                                             Case number (if known)
                Name


 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ✔None
     ❑

 13.1.    Who received the transfer?                         Description of property transferred or payments                 Date transfer        Total amount or
                                                             received or debts paid in exchange                              was made             value




          Address


         Street




         City                            State   ZIP Code


          Relationship to debtor




 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
    Address                                                                                                     Dates of occupancy


 14.1.                                                                                                         From                          To
         Street




         City                            State   ZIP Code




 Part 8: Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.




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Debtor          OutRight Avionics, LLC                                                                                Case number (if known)
                Name


          Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

 15.1.
         Facility name


         Street                                              Location where patient records are maintained(if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.
         City                       State     ZIP Code                                                                                  Check all that apply:
                                                                                                                                        ❑Electronically
                                                                                                                                        ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ✔ No.
     ❑
     ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
     ✔No. Go to Part 10.
     ❑
     ❑Yes. Does the debtor serve as plan administrator?
           ❑No. Go to Part 10.
           ❑Yes. Fill in below:
                       Name of plan                                                                      Employer identification number of the plan

                                                                                                         EIN:           –

                       Has the plan been terminated?
                       ❑No
                       ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
     associations, and other financial institutions.
     ✔None
     ❑
    Financial institution name and address                    Last 4 digits of account       Type of account            Date account was             Last balance
                                                              number                                                    closed, sold, moved,         before closing
                                                                                                                        or transferred               or transfer




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Debtor          OutRight Avionics, LLC                                                                                    Case number (if known)
                Name



 18.1                                                          XXXX–                           ❑Checking
         Name
                                                                                               ❑Savings
                                                                                               ❑Money market
                                                                                               ❑Brokerage
         Street


                                                                                               ❑Other
         City                         State   ZIP Code

 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔None
        ❑
 19.1     Depository institution name and address              Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑    Yes
         Street

                                                               Address

         City                         State   ZIP Code



 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
        business.
        ✔None
        ❑
 20.1     Facility name and address                            Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑    Yes
         Street

                                                               Address

         City                         State   ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
        rented property.
        ❑None




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Debtor        OutRight Avionics, LLC                                                                                   Case number (if known)
              Name


    Owner’s name and address                                 Location of the property                      Description of the property                    Value

    Various                                                                                              Various parts held on consignment                  $63,735.00
   Name
                                                                                                         for customers on a 70/30 agreement

   Street




   City                            State   ZIP Code

 Part 12: Details About Environmental Information



      For the purpose of Part 12, the following definitions apply:
            Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
            affected (air, land, water, or any other medium).
            Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
            or utilized.
            Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
            substance.
      Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Case title                                      Court or agency name and address                      Nature of the case                             Status of case

                                                                                                                                                        ❑Pending
    Case number
                                                   Name
                                                                                                                                                        ❑On appeal
                                                                                                                                                        ❑Concluded
                                                   Street




                                                   City                           State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


    Site name and address                           Governmental unit name and address                   Environmental law, if known                     Date of notice


   Name                                            Name


   Street                                          Street




   City                    State    ZIP Code       City                           State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.


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Debtor           OutRight Avionics, LLC                                                                                Case number (if known)
                 Name


    Site name and address                             Governmental unit name and address                 Environmental law, if known                    Date of notice


   Name                                              Name


   Street                                            Street




   City                      State   ZIP Code        City                          State    ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
        even if already listed in the Schedules.
        ✔None
        ❑

           Business name and address                        Describe the nature of the business                  Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:           –
          Name
                                                                                                                 Dates business existed
          Street
                                                                                                                From                     To



          City                   State    ZIP Code


 26. Books, records, and financial statements

 26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
        ❑None
            Name and address                                                                                       Dates of service

 26a.1.     Barbara Holder                                                                                        From                    To
           Name
            1512 Ivy Dr.
           Street



            Conroe, TX 77303
           City                                                  State                     ZIP Code



 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
           financial statement within 2 years before filing this case.
           ❑None




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Debtor         OutRight Avionics, LLC                                                                             Case number (if known)
              Name


            Name and address                                                                                  Dates of service

 26b.1.     ABS Bookkeeping & Tax Service, Inc.                                                              From 5/2015              To present
           Name
            1002 E. Elms Rd. Suite 111
           Street



            Killeen, TX 76542
           City                                                State                     ZIP Code



 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None
            Name and address                                                                                  If any books of account and records are
                                                                                                              unavailable, explain why
 26c.1.
            Galik, John G
           Name
            34 Greenview St
           Street



            Montgomery, TX 77356
           City                                                State                     ZIP Code

            Name and address                                                                                  If any books of account and records are
                                                                                                              unavailable, explain why
 26c.2.
            Galik, Kristin M
           Name
            34 Greenview St
           Street



            Montgomery, TX 77356
           City                                                State                     ZIP Code




 26d. List   all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
        a financial statement within 2 years before filing this case.
        ✔None
        ❑
            Name and address

 26d.1.
           Name


           Street




           City                                                State                     ZIP Code

 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑Yes. Give the details about the two most recent inventories.




Official Form 207                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                     page 14
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Debtor          OutRight Avionics, LLC                                                                               Case number (if known)
                Name


    Name of the person who supervised the taking of the inventory                                   Date of            The dollar amount and basis (cost, market, or
                                                                                                    inventory          other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                         State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

    Name                                 Address                                                      Position and nature of any interest     % of interest, if any


    Galik, John G                        34 Greenview St Montgomery, TX 77356                        Member/General Manager,                  51.00 %

    Galik, Kristin M                     34 Greenview St Montgomery, TX 77356                        Member,                                  49.00 %
 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
    Name                                 Address                                                      Position and nature of any      Period during which
                                                                                                      interest                        position or interest was held



                                                                                                ,                                           From
                                                                                                                                            To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ❑No
     ✔Yes. Identify below.
     ❑
          Name and address of recipient                                            Amount of money or                  Dates                  Reason for providing
                                                                                   description and value of                                   the value
                                                                                   property

 30.1.   Galik, John G                                                              $3,461 gross per pay period       Various over            Salary
         Name                                                                                                         last 1 year
         34 Greenview St
         Street



         Montgomery, TX 77356
         City                                       State         ZIP Code


          Relationship to debtor

         Owner/President




Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 15
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Debtor          OutRight Avionics, LLC                                                                      Case number (if known)
                Name


          Name and address of recipient                                      Amount of money or              Dates                   Reason for providing
                                                                             description and value of                                the value
                                                                             property

 30.2.   Galik, Kristin M                                                        $1,730.77 per pay period    Various              Salary
         Name
         34 Greenview St
         Street



         Montgomery, TX 77356
         City                                  State         ZIP Code


          Relationship to debtor

         Co-Owner, General Counsel, Vice President

          Name and address of recipient                                      Amount of money or              Dates                   Reason for providing
                                                                             description and value of                                the value
                                                                             property

 30.3.   Galik, John G                                                                        $61,804.77     Various              Owner Draws to
         Name                                                                                                                     John and Kristin
         34 Greenview St                                                                                                          Galik (for
         Street                                                                                                                   mortgage
                                                                                                                                  payments and
                                                                                                                                  personal
         Montgomery, TX 77356                                                                                                     expenses in lieu
         City                                  State         ZIP Code                                                             of market rate
                                                                                                                                  salary)
          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the parent corporation                                                       Employer Identification number of the parent corporation

                                                                                                EIN:          –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the pension fund                                                             Employer Identification number of the pension fund

                                                                                                EIN:          –

 Part 14: Signature and Declaration




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 16
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Debtor      OutRight Avionics, LLC                                                                                  Case number (if known)
           Name


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


      I declare under penalty of perjury that the foregoing is true and correct.


      Executed on         04/07/2020
                      MM/ DD/ YYYY




           ✘                               /s/ John Galik
                Signature of individual signing on behalf of the debtor



                Position or relationship to debtor
                               President



         Printed name                                John Galik



          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           ✔ No
           ❑
           ❑Yes




Official Form 207                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 17
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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                    Southern District of Texas

In re
OutRight Avionics, LLC                                                                                                  Case No.
Debtor(s)                                                                                                               Chapter         7


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $7,500.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $7,500.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        Representation in any adversary proceeding filed against you in your chapter 7 proceeding. Representation in any contested
        matter filed by you or against you in your chapter 7 proceeding, including but not limited to 2004 notices, 2004 examinations,
        Motions for Relief under section 362, Motion to Dismiss under section 707 or otherwise, and Motions to Convert. Representation
        of you in any of these proceedings may be available on an hourly basis (or contingent fee) and a separate fee agreement must
        be executed for such representation.
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                                       CERTIFICATION

   I certify that the foregoing is a complete statement of any agreement or arrangement for
 payment to me for representation of the debtor(s) in this bankruptcy proceeding.

 04/07/2020                          /s/ Allison D. Byman
 Date                                    Signature of Attorney
                                                                          Allison D. Byman
                                                                     Bar Number: 24040773
                                                                 Byman & Associates, PLLC
                                                                   7924 Broadway Suite 104
                                                                         Pearland, TX 77581
                                                                     Phone: (281) 884-9269

                                     Byman & Associates, PLLC
                                        Name of law firm
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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF TEXAS
                                                                 HOUSTON DIVISION

IN RE: OutRight Avionics, LLC                                                                CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       04/07/2020              Signature                                        /s/ John Galik
                                                                                 John Galik, President
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                         Air Capital Dial, Inc.
                         220 N. Vine
                         Wichita, KS 67203




                         Aircraft Spruce & Specialty
                         225 Airport Circle
                         Corona, CA 92878




                         Alamo Plating & Metal Finish
                         9230 Converse Business Ln.
                         Converse, TX 78109




                         Allegiance Bank
                         8727 W. Sam Houston Parkway N. Suite
                         100
                         Houston, TX 77040



                         Allied Electronics
                         7151 Jack Newell Blvd. S
                         Fort Worth, TX 76118




                         Jose A Amador
                         19603 Swan Valley Dr
                         Cypress, TX 77433




                         American Express
                         P.O. Box 650448
                         Dallas, TX 75265




                         Amex
                         Correspondence/Bankruptcy
                         PO Box 981540
                         El Paso, TX 79998-1540
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                         Kris Anantasomboon
                         705 Glaze Circle
                         Hewitt, TX 76643




                         Roy Anderson
                         4900 Courthouse Rd
                         Gulfport, MS 39507




                         Apple Card
                         P.O. Box 7247
                         Philadelphia, PA 19170




                         Carlos Arana
                         15 Split Rail Pl
                         Spring, TX 77382




                         Aspen Avionics
                         5001 Indian School Road, NE
                         Albuquerque, NM 87110




                         Associated Aircraft Supply,
                         LLC
                         3250 Stone Myers Parkway
                         Grapevine, TX 76051



                         AT&T




                         Aviall/Boeing Company
                         PO Box 619048
                         Dallas, TX 75261
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                         Tom Ball
                         222 Club Island Way
                         Montgomery, TX 77356




                         Bank of America
                         PO Box 851001
                         Dallas, TX 75285-1001




                         Jason Beaver
                         950 Seven Hills Dr 1124
                         Henderson, NV 89052




                         Chuck Beecher
                         4230 SE King Rd Unit 365
                         Portland, OR 97222




                         Bentwater Yacht and Country
                         Club
                         800 Bentwater Dr
                         Montgomery, TX 77356-8256



                         Josh Berman
                         14119 Renee Lane
                         College Station, TX 77845




                         BHE & Associates Ltd.
                         12002 Warfield St Ste 250
                         San Antonio, TX 78216-3219




                         Al Bledsoe
                         1201 The Cape Rd
                         Horseshoe Bay, TX 78657
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                         Boxwell Avionics
                         3050 Airman Dr.
                         Fort Pierce, FL 34946




                         Christopher S Brandley
                         12370 Ridgecrest
                         Willis, TX 77318




                         Neal Bridges
                         15421 Highway 12
                         Orange, TX 77632




                         Robert M Briscoe
                         4401 Gibson St
                         Houston, TX 77007




                         Stefan Buca
                         1024 N Oak Cliff Blvd
                         Dallas, TX 75208




                         Jerome Byrd, Jr
                         3307 Courtland Manor Lane
                         Kingwood, TX 77339




                         Cal America Mobil
                         4145 Belt Line Rd # 212-247
                         Addison, TX 75001-4324




                         Capital One
                         Attn: Bankruptcy
                         PO Box 30285
                         Salt Lake City, UT 84130-0285
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                         Paul Carper
                         10070 Airport Road
                         Conroe, TX 77303




                         Steve Cary
                         4320 Brownstone Dr
                         Beaumont, TX 77706




                         Castleberry Instruments
                         13405 Immanuel Rd Ste 1a
                         Pflugerville, TX 78660-8338




                         Dave Catalani
                         234 Tortoisde Creek Pl
                         Spring, TX 77389




                         Centerpoint
                         P.O. Box 4981
                         Houston, TX 77210-4981




                         Century Flight Systems, Inc.
                         Po Box 610
                         Mineral Wells, TX 76068-0610




                         Ces/clsf
                         C/o Acs
                         Utica, NY 13501




                         Chase Card Services
                         Attn: Bankruptcy
                         PO Box 15298
                         Wilmington, DE 19850
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                         Chase Card Services
                         PO Box 15123
                         Wilmington, DE 19850




                         City of Conroe
                         Alarms Division
                         PO Box 140875
                         Irving, TX 75014



                         City of Conroe
                         Water Department
                         PO Box 1669
                         Houston, TX 77251



                         Clean Planes "R" Us




                         Coats & Evans, PC
                         Attn: Gary L Evans
                         P.O. Box 130246
                         Spring, TX 77393



                         John Cohron
                         20630 Sundance Springs Ln
                         Spring, TX 77379




                         Comenity Bank/Jared
                         Attn: Bankruptcy
                         PO Box 182273
                         Columbus, OH 43218



                         Compass Bank
                         Attn: Bankruptcy
                         PO Box 10566
                         Birmingham, AL 35296
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                         Consolidated Communications
                         P.O. Box 66523
                         Saint Louis, MO 63166-6523




                         Debbie Cran
                         48 Post Shadown Estate Dr.
                         Spring, TX 77389




                         James Crossno
                         1400 West Abram c/o Hill Gilstrap, PC
                         Arlington, TX 76013




                         Dallas Avionics
                         2525 Santa Anna Ave
                         Dallas, TX 75228-1671




                         Depot Avionics, Inc.
                         2550 State Avenue
                         Alamosa, CO 81101




                         Design Galveston
                         2811 Inridge Dr.
                         Austin, TX 78745




                         Discover Financial
                         Attn: Bankruptcy Department
                         PO Box 15316
                         Wilmington, DE 19850-5316



                         Scott Dyer
                         2000 Old May Ct
                         College Station, TX 77845
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                         Edmo Distributors
                         18230 E. Mirabeau Pkwy
                         Spokane, WA 99216




                         Entergy
                         P.O Box 8104
                         Baton Rouge, LA 70891




                         Joseph Fabian
                         P.O. Box 320639
                         Flowood, MS 39232




                         Robert Fillips
                         435 FM 2917 Rd
                         Alvin, TX 77511




                         David Frager
                         4016 Enclave Mesa Cir
                         Austin, TX 78731




                         Ben Frederick
                         44 Beckonvale Ct
                         The Woodlands, TX 77382-2652




                         John G Galik
                         34 Greenview St
                         Montgomery, TX 77356




                         Kristin Michelle Galik
                         34 Greenview Street
                         Montgomery, TX 77356
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                         Kristin M Galik
                         34 Greenview St
                         Montgomery, TX 77356




                         Garmin
                         1200 E. 151st Street
                         Olathe, KS 66062




                         John P Gene
                         305 Mockingbird Lane
                         Weatherford, TX 76086




                         General Aviation Services
                         5260 Central PKWY, Hanger 14
                         Conroe, TX 77303




                         Genuine Aircraft Hardware
                         4250 Aerotech Ctr Way, Unit B
                         Paso Robles, CA 93446




                         Christian D.F. Gerthe
                         24909 Stone Xing
                         Montgomery, TX 77316




                         Dieter HM Gerthe
                         24909 Stone Xing
                         Montgomery, TX 77316




                         Dave Giese
                         6110 Riverchase Trl
                         Kingwood, TX 77345
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                         GoDaddy
                         14455 North Hayden Rd. 219
                         Scottsdale, AZ 85260




                         Gs Bank Usa
                         Lockbox 6112
                         Philadelphia, PA 19170




                         Joe Guzman




                         Joseph Guzman
                         1400 West Abram c/o Hill Gilstrap PC
                         Arlington, TX 76013




                         Aaron Hebert
                         5215 N Twin City Hwy
                         Port Arthur, TX 77642




                         Michael Hicks
                         3306 Cunningham Rd
                         Wallis, TX 77485




                         High Desert Avionics
                         4555-9 West G Ave
                         Lancaster, CA 93536




                         James Hoffpauir
                         P.O. Box 896
                         Onalaska, TX 77360
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                         David W Holden
                         68 Rua Martine
                         Miramar Beach, FL 32550




                         Barbara A Holder
                         12152 Ivy Drive
                         Conroe, TX 77303




                         Robert W Holder
                         12152 Ivy Drive
                         Conroe, TX 77303




                         Impress Computers
                         21733 Provincial Blvd 110
                         Katy, TX 77450




                         Jon L Infante
                         988 Arbor Glen
                         Conroe, TX 77303




                         Internal Revenue Service
                         Insolvency Section
                         1919 Smith St., Stop 5022 HOU
                         Houston, TX 77002



                         Patrick A James
                         12370 Ridgecrest
                         Willis, TX 77318




                         Van Johnson
                         27911 FM 2100 Rd
                         Huffman, TX 77336
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                         JP Instruments, Inc
                         3185-B Airway Avenue




                         K&B Aviation GP LLC
                         Attn: Brent Franks
                         6609 Avenue U
                         Houston, TX 77011



                         Kabbage/Celtic Bank
                         PO Box 77081
                         Atlanta, GA 30357




                         Steven D Keener
                         9782 West Shore Dr
                         Willis, TX 77318




                         Larry Kelley
                         7165 Royal Meadows St
                         Port Arthur, TX 77642




                         Lucas D Lacock
                         1923 W Welsford Dr
                         Spring, TX 77386-2544




                         Andy Lauth
                         10013 Military Dr
                         Conroe, TX 77303




                         Richard Leofsky
                         14100 Lakeport Dr
                         Willis, TX 77318
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                         LexisNexis
                         RELX Inc. DBA LexisNexis
                         PO Box 733106
                         Dallas, TX 75373



                         Lexus Financial Services
                         P.O. Box 4102
                         Carol Stream, IL 60197-4102




                         Robert Limbaugh
                         117 Fairhope Ave
                         Fairhope, AL 36532




                         Gary Martin
                         440 Forest Dr
                         Lake Jackson, TX 77566




                         Randy Martin
                         4973 Hilltop Ranch Ct
                         Montgomery, TX 77316




                         Sam McCaskill
                         P.O. Box 340339
                         Austin, TX 78734




                         Joe McDaniel
                         6027 US Highway 259 N
                         Henderson, TX 75652




                         Todd McQuown
                         108 Ebner Lake Front Dr
                         Montgomery, TX 77316
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                         Mid-Continent Instruments
                         9400 E 34th Street North
                         Wichita, KS 67226




                         Montgomery County MUD #18
                         P.O. Box 1170
                         Montgomery, TX 77356




                         Mouser Electronics
                         1000 North Main Street
                         Mansfield, TX 76063




                         David Murphy
                         19606 Powerscourt Dr
                         Humble, TX 77346




                         MW Aircraft Services
                         10298 C Pickerings Mem Dr
                         Conroe, TX 77303




                         Navient
                         Attn: Bankruptcy
                         PO Box 9000
                         Wiles-Barr, PA 18773-9000



                         Nelnet
                         Attn: Bankruptcy Claims
                         PO Box 82505
                         Lincoln, NE 68501-2505



                         OnDeck Capital, Inc.
                         101 West Colfax Ave., 10th Floor
                         Denver, CO 80202
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                         Doug Osterhus
                         P.O. Box 72
                         Bellaire, TX 77402




                         Mason Pearsall
                         12507 Telge Road
                         Cypress, TX 77429




                         Pitney Bowes
                         3001 Summer St
                         Stamford, CT 06905-4317




                         Plains State Bank
                         PO Box 62005
                         Houston, TX 77205




                         Plane Den Aircraft
                         Structures, LLC
                         1137 Brecon Lane
                         Austin, TX 78748



                         Pool Tec Pool & Spa
                         17118 Grey Oaks Dr
                         Conroe, TX 77385




                         Adam R Probst
                         265 Thunderbird Dr
                         Conroe, TX 77304




                         Robert H Putz, Jr
                         3306 Durant Ct
                         Bryan, TX 77802
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                         Cory Rance
                         12071 S Whitehall Rd
                         Moody, TX 76557




                         Cory Rance
                         1400 West Abram c/o Hill Gilstrap, PC
                         Arlington, TX 76013




                         Thomas A Roberston
                         311 Elkins Lake
                         Huntsville, TX 77340




                         Joey and Casey Robinson
                         311 Elkins Lane
                         Huntsville, TX 77340




                         Daniel Schultz
                         16192 Coastal Hwy
                         Lewes, DE 19958-3608




                         Security Bank Crawford
                         PO Box 90
                         Crawford, TX 76638




                         Security Service FCU
                         Risk Management
                         PO Box 691586
                         San Antonio, TX 78269



                         Seiler Mitby, PLLC
                         Attn: Kenna Seiler
                         2700 Research Forrest Dr 100
                         Spring, TX 77381
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                         Azhar Sindhu
                         19123 Aquatic Dr
                         Humble, TX 77346




                         Snap On Crdt
                         950 Technology Way Suite 301
                         Libertyville, IL 60048




                         Steve Souders
                         37703 Parkway Oaks
                         Magnolia, TX 77355




                         Synchrony Bank/Care Credit
                         Attn: Bankruptcy Dept
                         PO Box 965064
                         Orlando, FL 32896-5060



                         Tachus
                         2407 Timberloch Place G
                         Spring, TX 77389




                         Texas Aircraft Instruments
                         1911 South Gordon Street
                         Alvin, TX 77511




                         Texas Comptroller of Public
                         Accounts
                         111 East 17th Street
                         Austin, TX 78774



                         Textron Aviation
                         23260 Newark Place
                         Chicago, IL
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                         Toyota Financial Services
                         Attn: Bankruptcy
                         PO Box 8026
                         Cedar Rapids, IA 52409-8026



                         John Tuggle




                         UPS
                         P.O. Box 7247-0244
                         Philadelphia, PA 19170




                         USAA Federal Savings Bank
                         Attn: Bankruptcy 10750 McDermott
                         Freeway
                         San Antonio,, TX 78288-9876



                         USAA Property and Casualty
                         10750 McDermott Fwy
                         San Antonio, TX 78288-0570




                         Van Bortel Aircraft, Inc
                         4912 S Collins St
                         Arlington, TX 76016




                         Gerry Venteicher
                         121 Southwood Dr
                         Bossier City, LA 71111-6050




                         Verizon Wireless
                         PO Box 489
                         Newark, NJ 07101
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                         David Vineyard
                         324 Burrows St
                         Nacogdoches, TX 75965




                         Vivent-Security System
                         62992 Collections Dr
                         Chicago, IL 60693-0629




                         VNE Aviation, LLC
                         Attn: Michael Wise
                         675 Clear Springs Hollow
                         Buda, TX 78610



                         Volkswagen Credit, Inc
                         Attn: Bankruptcy
                         PO Box 3
                         Hillboro, OR 97123-0003



                         George Walker
                         12412 Sagittarius Dr E
                         Willis, TX 77318




                         George Walker
                         c/o Hill Gilstrap, PC
                         Arlington, TX 76013




                         Watchdog Security
                         330 Rayford Rd. 207
                         Spring, TX 77386




                         Bruce Webber
                         201 Stearman Dr
                         Georgetown, TX 78628
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                         Wells Fargo Bank
                         Attn: Written Correspondnce Dept
                         PO Box 10335
                         Des Moines, IA 50306



                         Wells Fargo Bank NA
                         Attn: Bankruptcy 1 Home Campus MAC
                         X2303-01A
                         Des Moines, IA 50328



                         Wf/gallery
                         Po Box 14517
                         Des Moines, IA 50306




                         Wf/matfirm
                         Po Box 14517
                         Des Moines, IA 50306




                         Ryan Wheless
                         13810 Champion Forest Dr 02
                         Houston, TX 77069




                         WireMasters
                         P.O. Box 734418
                         Chicago, IL 60673




                         Don Wootton
                         22606 Main Blvd #1
                         Tomball, TX 77377




                         Xylon Aviation LLC
                         1050 Bentwater Dr.
                         Montgomery, TX 77356
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 Fill in this information to identify the case:

 Debtor name                                OutRight Avionics, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                                                                                                    ❑Check if this is an
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑      Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑      A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑      Amended Schedule

         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑      Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.




                                                                                ✘
         Executed on 04/07/2020
                          MM/ DD/ YYYY                                                                                     /s/ John Galik
                                                                                      Signature of individual signing on behalf of debtor


                                                                                      John Galik
                                                                                      Printed name


                                                                                      President
                                                                                      Position or relationship to debtor




Official Form B202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
